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                                              September 29, 2016


The Hon. Lorna G. Schofield
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


       Re:     In re Foreign Exchange Benchmarks Antitrust Litig., 13-cv-7789-LGS (S.D.N.Y.)

Dear Judge Schofield:

        We write on behalf of Plaintiffs and Defendants The Bank of Tokyo Mitsubishi UFJ
Ltd.; Credit Suisse Securities (USA) LLC, Credit Suisse Group AG and Credit Suisse AG;
Deutsche Bank AG, Deutsche Bank Securities Inc.; Morgan Stanley, Morgan Stanley & Co.,
LLC and Morgan Stanley & Co. International plc; RBC Capital Markets, LLC; Société Générale;
and Standard Chartered Bank (collectively, “Non-Settling Defendants”) to provide an update to
the Court on discussions with respect to production of names and addresses of putative
settlement class members.

       In conjunction with Plaintiffs’ Motion for Approval of the Form and Manner of Notice of
Settlements and Preliminary Approving the Plan of Distribution (ECF No. 653), Plaintiffs
informed the Court that they were negotiating the production of names and addresses of putative
settlement class members with Non-Settling Defendants. At such time, Plaintiffs indicated that if
they were unable to reach agreement with Non-Settling Defendants as to the production of such
information, they would seek to compel production of this information. (ECF No. 654 at 7).

         After further discussion, Non-Settling Defendants have agreed that subject to
accessibility, undue burden and any other limitation, legal or otherwise, they will identify, collect
and produce contact information for counterparties with United States addresses to the Claims
Administrator. The Non-Settling Defendants have further indicated that they do not object in
principle to the identification, collection and production of contact information for clients with
foreign addresses – subject to any foreign rules or regulations that would prohibit such disclosure
– but need additional time to determine whether, and the extent to which, and when it will be
able to identify and collect such information and what steps need to be taken prior to producing
that information to Plaintiffs. The Non-Settling Defendants have agreed to engage in these
efforts in good faith and keep Plaintiffs apprised of progress and limitations encountered in the
process.
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        Plaintiffs believe this agreement obviates the need for a motion to compel at this time, but
reserve their rights to seek a pre-motion conference at a later date if issues arise with respect to
this production that would imperil the notice date proposed to the Court or otherwise require
judicial intervention.

      The parties will be prepared to advise the Court as to the status of their discussions at the
October 5 conference.

                                           Respectfully,


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 s/ Michael D. Hausfeld                             s/ G. Patrick Montgomery
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